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                         UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE                                           § Confirmed Chapter 11
                                                §
UNIVERSITY GENERAL HEALTH                       § Case No. 15-31086
SYSTEM, INC. et al.,                            §
                                                § Jointly Administered
                        Debtors.                §
                                                §

      THE LIQUIDATING TRUSTEE’S OBJECTION TO THE ADMINISTRATIVE
         EXPENSE CLAIM FILED BY COMMUNITY PATHOLOGY P.L.L.C.

                                       Related D.N. 884

                  THIS IS AN OBJECTION TO YOUR CLAIM. THE OBJECTING
                  PARTY IS ASKING THE COURT TO EXPUNGE THE CLAIM
                  THAT YOU FILED IN THIS BANKRUPTCY CASE. YOU
                  SHOULD IMMEDIATELY CONTACT THE OBJECTING PARTY
                  TO RESOLVE THE DISPUTE. IF YOU DO NOT REACH AN
                  AGREEMENT, YOU MUST FILE A RESPONSE TO THIS
                  OBJECTION AND SEND A COPY OF YOUR RESPONSE TO
                  THE OBJECTING PARTY WITHIN 30 DAYS AFTER THE
                  OBJECTION WAS SERVED ON YOU. YOUR RESPONSE MUST
                  STATE WHY THE OBJECTION IS NOT VALID. IF YOU DO
                  NOT FILE A RESPONSE WITHIN 30 DAYS AFTER THE
                  OBJECTION WAS SERVED ON YOU, YOUR CLAIM MAY BE
                  EXPUNGED WITHOUT A HEARING.

                  A HEARING HAS BEEN SET ON THIS MATTER ON JULY 11,
                  2016, AT 1:00 P.M. CST IN COURTROOM 401, 515 RUSK
                  AVENUE, 4TH FLOOR, HOUSTON, TEXAS 77002.

TO THE HONORABLE LETITIA Z. PAUL, UNITED STATES BANKRUPTCY JUDGE:


         Michael D. Warner, the Liquidating Trustee (the “Trustee”) for University General

Health System, Inc., et al. (the “Debtors”), pursuant to the Joint Chapter 11 Plan of Liquidation

(the “Plan”), as confirmed pursuant to that certain Order Confirming Joint Chapter 11 Plan of

Liquidation [Docket No. 799] (the “Confirmation Order” and, together with the Plan, the “Plan

Documents”), and that certain Liquidating Trust Agreement, entered into on February 4, 2016



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(the “Liquidating Trust Agreement”), hereby files this Objection (the “Objection”) to the

Administrative Expense Claim (the “Claim”) Filed by Community Pathology P.L.L.C. (the

“Claimant”) [Docket No. 884], and in support thereof respectfully represents:1


                                         I. INTRODUCTION

         1.       As set forth in detail herein, the Claim should be expunged in its entirety because

the purchaser of the Debtors’ hospital and assets, Foundation Surgical Hospital Holdings, LLC

(“Foundation”), bears sole liability for the entirety of the Claim.

         2.       Foundation is unequivocally responsible for the Claim pursuant to the Plan and

the terms of the sale, which collectively provide that only certain administrative expense claims

(or portions related thereto) are the responsibility of the Debtors, while others, like the Claim, are

the responsibility of Foundation.



                        II. JURISDICTION AND PREDICATES FOR RELIEF

         3.       This Court has jurisdiction over this Objection pursuant to 28 U.S.C. § 1334,

Section 12.1 of the Plan, and Local Rule 3007-1 of the Bankruptcy Local Rules for the United

States Bankruptcy Court for the Southern District of Texas (the “Local Rules”).

         4.       This is a “core” proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (B) and (O).

Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409 and Paragraph 72 of the

Confirmation Order and Sections 12.1 of the Plan.

         5.       This Objection is also made pursuant to § 1.2 of the Plan and paragraph 22 of the

Confirmation Order.


1
   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in
the Plan.


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         6.       In support of this Objection, the Trustee relies upon his Declaration (the “Warner

Declaration”), attached as “Exhibit 1,” which is submitted as required by Local Rule 3007-1(b).



                                         III. BACKGROUND

A.       Chapter 11 Cases

         7.       On February 27, 2015 (the “Petition Date”), the Debtors filed voluntary petitions

for relief under Chapter 11 of Title 11 of the United States Code. By Order dated March 2, 2015

[Docket No. 43], the Debtors’ cases are being jointly administered.

         8.       On November 6, 2015, the Debtor and Foundation entered into that certain

Purchase and Sale Agreement (the “Sale Agreement”),2 whereby certain of the Debtors agreed

to sell substantially all of the assets used in their business operations and the equity interest in

that certain entity, University General Hospital, LP.

         9.       On November 9, 2015, the Court approved the Debtors’ proposed sale of their

assets and the hospital operations to Foundation [Docket No. 691]. The sale closed on December

31, 2015 (the “Closing” or the “Closing Date”).

         10.      Pursuant to the Sale Agreement, the Debtors and Foundation agreed to apportion

responsibility for certain post-petition expenses, whereby Foundation was to be responsible for

all post-petition obligations due on or after November 21, 2015. See Section 2.03 of the Sale

Agreement.

         11.      Foundation specifically assumed “Post-Petition Accounts Payable solely to the

extent exclusively related to the Transferred Assets or the Transferred Employees who are

employed by Buyer or its Affiliates effective as of or after the Closing.” Id. The term “Post-

2
  A copy of the Sale Agreement is located at Exhibit 1 to the Plan. See Confirmation Order [Docket No. 799-
2].


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Petition Accounts Payable” means “all accounts payable of the Debtors arising after the Petition

Date in the Ordinary Course of Business that are not more than 40 days outstanding, but

excluding amounts due under the DIP Facility and (ii) the unpaid wages, salaries and employer's

and employee's Tax withholding obligations for Transferred Employees that are accrued and

unpaid in the Ordinary Course of Business as of the Closing Date for the last period prior to the

Closing which payroll obligations become due following the Closing.” Section 1.01 of the Sale

Agreement.

         12.      Essentially, the Plan Documents provide that accounts payable related to the

Transferred Assets that became due in the ordinary course of the Debtors’ business, within forty

(40) days of the Closing Date (to wit, on or after November 21, 2015), are the sole responsibility

of Foundation.

         13.      The Court confirmed the Plan on January 11, 2016. On that same date, the

Official Committee of Unsecured Creditors filed a Notice of Designation of Liquidating Trustee

[Docket No. 794], pursuant to which Michael D. Warner was designated Trustee of the

Liquidating Trust. On January 12, 2016, the Court entered the Confirmation Order, which

confirmed and modified certain provisions of the Plan.

         14.      On February 4, 2016, the Plan became Effective [Docket No. 835] and pursuant to

Article 7.2 of the Plan, a Liquidating Trust was created on the Plan’s Effective Date, to be

managed by a Trustee.

         15.      The Plan established that all parties holding Administrative Claims had to assert

such claims on or before February 24, 2016.

         16.      The Plan initially provided the Trustee with 21 days to object to an

Administrative Claim after such Administrative Claim was filed. See Plan, Section 16.2.



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         17.      On March 11, 2016, the Court extended the Trustee’s time to object to

Administrative Claims asserted under Sections 1.2 and 3.1.2 of the Plan until May 23, 2016

[Docket No. 929].

         18.      An omnibus hearing to address the Trustee’s objections to Administrative Claims,

including this Objection, has been scheduled for July 11, 2016 [Docket No. 996].



B.       The Administrative Claim

         19.      On December 17, 2015, the Claimant filed a motion for payment of post-petition

administrative expenses [Docket No. 762] (the “Initial Application”). The Initial Application

was allowed in the amount of $83,981.55, by Order of this Court, prior to confirmation and the

Effective Date of the Plan [Docket No. 797].

         20.      On February 24, 2016 the Claimant filed a second application (the “Second

Application”) for payment of its purported administrative expense claim in the amount of

$22,416.07 (the “Claim”) [Docket No. 884]. A copy of the Claim is attached as “Exhibit A” to

the Warner Declaration. As set forth in the Claim, the Claimant asserts that the Debtors are

liable to the Claimant on account of services rendered pursuant to a certain Histology Processing

and Transcription Agreement, as amended from time to time (collectively, the “Histology

Agreement”), attached as Exhibit 1 to the Initial Application, and a certain Professionals

Services Agreement (the “Professional Services Agreement”), filed under seal as Exhibit 3 to

the Initial Application.

         21.      The invoices submitted in support of the Claim and attached as Exhibit 1 to the

Second Application include 2 categories of invoices: invoices that clearly became due within the

40-day period of the Closing or invoices where it is unclear when payment was due, and thus

impossible at this juncture to determine which party is obligated to pay same.

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         22.      Attached as “Exhibit B” to the Warner Declaration is a list of the invoices,

totaling $8,383.76 (the “40 Day Entries”), which fall within the definition of Post-Petition

Accounts Payable and are thus Foundation’s responsibility. The remainder of the entries, which

lack sufficient information to identify when they became due, total $14,032.31, and are set forth

more fully in the list attached as “Exhibit C” to the Warner Declaration (the “Disputed

Entries”). In aggregate the Second Applications seeks $22,416.07.



                                    IV. RELIEF REQUESTED

A.       There is Ample Cause to Expunge the Claim Because the Claim Seeks
         Payment for Obligations Due and Owing by Foundation and Not the Debtors

         23.      The Claimant has failed to establish that the Debtors’ estates are liable to

Claimant on account of the Claim because a significant portion of the services for which the

Claimant is seeking payment are unquestionably due and owing by Foundation pursuant to the

Sale Agreement (to wit: $8,383.76); and there is insufficient information to determine whether

the Debtors or Foundation are responsible for the remainder of the services for which the

Claimant is seeking payment (to wit: $14,032.31).

         24.      An administrative claim pursuant to Bankruptcy Code section 503(b)(1) is a claim

for the actual, necessary costs and expenses of preserving the estate. 11 U.S.C. § 503. “In order

to qualify as an ‘actual and necessary cost’ under section 503(b)(1)(A), a claim against the estate

must have arisen post-petition and as a result of actions taken by the trustee [the Debtors] that

benefitted the estate.” Total Minatome Corp. v. Jack/Wade Drilling, Inc. (In re Jack/Wade

Drilling, Inc.), 258 F.3d 385, 387 (5th Cir. 2001).

         25.      A claimant bears the burden of proof in establishing entitlement to an

administrative claim and must show that: (1) the claim arises from a transaction with the debtor-


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in-possession; and (2) the goods or services supplied enhanced the ability of the debtor-in-

possession’s business to function as a going concern. In re Transamerican Natural Gas Corp.,

978 F.2d 1409, 1416 (5th Cir. 1992) (citations omitted). Only after a claimant establishes a

prima facie case does the burden of producing evidence shift to the objector; the burden of

persuasion, however, by a preponderance of the evidence, remains with the claimant.               Id.

(citations omitted).

         26.      To be prima facie valid, a claim must “allege[] facts sufficient to support a legal

liability to the claimant.” In re Allegheny Int’l, Inc., 954 F.2d 167, 173 (3d Cir. 1992).



                  (i)    The 40 Day Entries are Foundation’s Responsibility

         27.      As evident from a review of the invoices submitted in support of the Claim, the 40

Day Entries came due and owing on or after November 21, 2015 and are thus Post-Petition

Accounts Payable due and owing by Foundation, pursuant to the Plan Documents.

         28.      The Trustee objects to the 40 Day Entries since, pursuant to the Plan Documents,

the Debtors have no liability for them.

         29.      The Claimant has failed to meet its initial burden of establishing a prima facie

valid claim against the Debtors because the 40 Day Entries are clearly obligations of Foundation.

Accordingly, the Trustee respectfully asserts that Claim must be reduced by $8,383.76 to remove

the 40 Day Entries.

         30.      As set forth herein, Trustee objects to the remaining portion of the Claim on other

grounds.




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                  (ii)   The Claimant Has Not Demonstrated that the Debtors’
                         Estates are Responsible for Paying the Disputed Entries

         31.      The Claimant has failed to substantiate when the remainder of the services sought

in the Claim (to wit: $14,032.31) became due, specifically the Disputed Entries listed on Exhibit

C to the Warner Declaration. These are for services rendered prior to November 21, 2015 but

the invoices do not contain due dates or net terms.

         32.      Pursuant to the Plan Documents, the Debtors are only liable for the Disputed

Entries to the extent they became due before November 21, 2015. To the extent the Disputed

Entries became due on or after November 21, 2015, Foundation, rather than the Debtors, is

solely liable with respect to the Disputed Entries.

         33.      Because the Claim lacks sufficient information, the Trustee objects to the

allowance of any of the Disputed Entries because the Claimant has not substantiated that the

Debtors’ estates are responsible for them.

         34.      Having failed to establish a prima facie valid claim for recovery against the

Debtors for the Disputed Entries, and unless additional information is received, the Trustee

respectfully asserts that the Claim should be reduced by an additional $14,032.31 to account for

the Disputed Entries.



                                             V. NOTICE

         35.      Notice of this Objection has been provided to (i) the United States Trustee for

Region 7, (ii) the Claimant, (iii) counsel to the Claimant, if any, and (iv) all parties who have

requested post-Effective Date notice pursuant to Article 14 of the Plan.

         36.      To avoid unnecessary mailing costs, the copy of the Objection served upon all

parties excludes Exhibits. To the extent any party desires to obtain a copy of the Exhibits in


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support of this Objection, they may access a copy via http://www.upshot.com/UGHS or by

written request to the undersigned counsel.



                                VI. RESERVATION OF RIGHTS

         37.      The Trustee requests that, to the extent the Court does not expunge the Claim in

its entirety, the Trustee’s rights be expressly reserved to further object to the Claim on any and

all grounds, including, but not limited to, the grounds that the Disputed Entries are not

adequately supported.

         38.      Notwithstanding the foregoing, to the extent the Court ultimately allows all or

part of the Claimant’s Claim, the Trustee will request that the Order provide that the Trustee is

not obligated to make any distribution on the Claim until such date as the Trustee determines

that: (i) some or all of the Disputed Entries are reasonable, in his sole and exclusive discretion,

after consultation with the Post-Confirmation Committee, or the Court orders that some or all of

the Disputed Entries are obligations of the Debtors; and (ii) a distribution on the Claim is

reasonable, in his sole and exclusive discretion, after consultation with the Post-Confirmation

Committee.



                                 [remainder left intentionally blank]




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                                       VII. CONCLUSION

         For the reasons set forth herein, the Trustee respectfully requests that the Court enter an

Order expunging the Claim and granting such other and further relief as the Court deems just and

necessary under the circumstances.

                                                       Respectfully submitted,

Dated: May 23, 2016                                   By:      /s/ Michael D. Warner
                                                            Michael D. Warner, Esq.
                                                            Texas Bar No. 00792304
                                                            COLE SCHOTZ P.C.
                                                            301 Commerce Street, Suite 1700
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                                                            Fax: (817) 810-5255
                                                            Email: mwarner@coleschotz.com

                                                            Liquidating Trustee


                                                      By:       /s/ Jill B. Bienstock
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                                                            Pending
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                                                            Email: jbienstock@coleschotz.com
                                                            Email: rhollander@coleschotz.com

                                                            Attorneys for Michael D. Warner,
                                                            Liquidating Trustee

                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 23rd day of May, 2016, I caused a true and correct
copy of the above and foregoing pleading to served upon: (i) all parties that are registered to
receive electronic service through the court’s ECF notice system in the above case and (ii) by
regular mail to the parties listed in the “Notice” section of the Objection.

                                              /s/ Michael D. Warner
                                              Michael D. Warner, Esq.

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